Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 1 of 48 Page ID #39227



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


   MARK HALE, TODD SHADLE,
   and LAURIE LOGER, on behalf of
   themselves and all others similarly situated,

   Plaintiffs,

   v.

   STATE FARM MUTUAL AUTOMOBILE
   INSURANCE COMPANY, EDWARD
   MURNANE, and WILLIAM G. SHEPHERD,

   Defendants.                                               No. 12-0660-DRH

                             MEMORANDUM and ORDER

   HERNDON, District Judge:

                             Introduction and Background

         Pending before the Court are various motions to exclude expert testimony

   filed by the parties: (1) defendants’ motion to exclude reports and testimony of

   Joanna M. Shepherd (Doc. 711); defendants’ motion to exclude expert report and

   trial testimony of Delores K. Rinke (Doc. 712); plaintiffs’ motion to exclude expert

   report and testimony of Justice Sheila M. O’Brien (Doc. 713); plaintiffs’ motion to

   exclude expert report and testimony of Michael T. Reagan (Doc. 714); defendants’

   motion to exclude report and trial testimony of Richard K. Means (Doc. 715);

   defendants’ motion to exclude testimony and opinions of Kent D. Redfield with

   respect to purported violations of election law (Doc. 716); defendants’ motion to

   exclude testimony and reports of Bruce Green (Doc. 717) and plaintiffs’ motion to




                                      Page 1 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 2 of 48 Page ID #39228



   exclude the report and testimony of Bruce Dubinsky (Doc. 718).1 As the motions

   are fully briefed, the Court turns to address the merits of plaintiffs’ motions first

   and then addresses the merits of defendants’ motions.

                                         Legal Standard

          “A district court's decision to exclude expert testimony is governed

   by Federal Rules of Evidence 702 and 703, as construed by the Supreme Court

   in Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 113 S.Ct. 2786, 125

   L.Ed.2d 469 (1993).” Brown v. Burlington Northern Santa Fe Ry. Co., 765 F.3d

   765, 771 (7th Cir. 2014); see also Lewis v. Citgo Petroleum Corp., 561 F.3d 698,

   705 (7th Cir. 2009). Rule 702, governing the admissibility of expert testimony,

   provides:

          A witness who is qualified as an expert by knowledge, skill,
          experience, training, or education may testify in the form of an
          opinion or otherwise if: (a) the expert's scientific, technical, or other
          specialized knowledge will help the trier of fact to understand the
          evidence or to determine a fact in issue; (b) the testimony is based on
          sufficient facts or data; (c) the testimony is the product of reliable
          principles and methods; and (d) the expert has reliably applied the
          principles and methods to the facts of the case.


   “In short, the rule requires that the trial judge ensure that any and all expert

   testimony or evidence admitted “is not only relevant, but reliable.” Manpower, Inc.

   v. Ins. Co. of Pa. 732 F.3d 796, 806 (7th Cir. 2013) (citing Daubert, 509 U.S. at

   589, 113 S.Ct. 2786); see also Bielskis v. Louisville Ladder, Inc., 663 F.3d 887,


   1
    State Farm filed the motions to exclude and the responses in opposition to the motions to
   exclude and defendants Murnane and Shepherd joined in all these pleadings as reflected by the
   docket.


                                           Page 2 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 3 of 48 Page ID #39229



   894 (7th Cir. 2011) (explaining that ultimately, the expert's opinion “must be

   reasoned and founded on data [and] must also utilize the methods of the relevant

   discipline”); Lees   v.   Carthage   College, 714   F.3d   516,   521    (7th   Cir.

   2013) (explaining the current version of Rule 702 essentially codified Daubert and

   “remains the gold standard for evaluating the reliability of expert testimony”).

   The Daubert principles apply equally to scientific and non-scientific expert

   testimony. See Manpower, Inc., 732 F.3d at 806 (citing Kumho Tire Co., Ltd. v.

   Carmichael, 526 U.S. 137, 147–49, 119 S.Ct. 1167, 143 L.Ed.2d 238 (1999)).

         Under the expert-testimony framework, courts perform the gatekeeping

   function of determining whether the expert testimony is both relevant and reliable

   prior to its admission at trial. See Manpower, Inc., 732 F.3d at 806; Lees, 714

   F.3d at 521; United States v. Pansier, 576 F.3d 726, 737 (7th Cir. 2009) (“To

   determine reliability, the court should consider the proposed expert's full range of

   experience and training, as well as the methodology used to arrive [at] a particular

   conclusion.”). In doing so, courts “make the following inquiries before admitting

   expert testimony: first, the expert must be qualified as an expert by knowledge,

   skill, experience, training, or education; second, the proposed expert must assist

   the trier of fact in determining a relevant fact at issue in the case; third, the

   expert's testimony must be based on sufficient facts or data and reliable principles

   and methods; and fourth, the expert must have reliably applied the principles and

   methods to the facts of the case.” Lees, 714 F.3d at 521–22; see also Stollings v.

   Ryobi Techs., Inc., 725 F.3d 753, 765 (7th Cir. 2013); Pansier, 576 F.3d at 737.


                                        Page 3 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 4 of 48 Page ID #39230



         A district court's evaluation of expert testimony under Daubert does not

   “take the place of the jury to decide ultimate issues of credibility and

   accuracy.” Lapsley    v.   Xtek,   Inc., 689      F.3d   802,   805      (7th   Cir.

   2012) (citing Daubert, 509 U.S. at 596). Once it is determined that “the proposed

   expert testimony meets the Daubert threshold of relevance and reliability, the

   accuracy of the actual evidence is to be tested before the jury with the familiar

   tools of ‘vigorous cross-examination, presentation of contrary evidence, and

   careful instruction on the burden of proof.’” based on Id. The Stollings Court

   instructed, at page 766, “[a]n expert may provide expert testimony a valid and

   properly applied methodology and still offer a conclusion that is subject to doubt.

   It is the role of the jury to weigh these sources of doubt. In Daubert the Supreme

   Court expressly envisioned this continued role for the jury when it reminded all

   that ‘[v]igorous cross-examination, presentation of contrary evidence, and careful

   instruction on the burden of proof are the traditional and appropriate means of

   attacking shaky but admissible evidence.’” Citing Daubert at page 596.

         Furthermore, Rule 403 states:

         The Court may exclude relevant evidence if its probative value is
         substantially outweighed by a danger of one or more of the following:
         unfair prejudice, confusing the issues, misleading the jury, undue
         delay, wasting time, or needlessly presenting cumulative evidence.

                                           Analysis

         Justice Sheila M. O’Brien (Ret.) (Doc. 713)

         Justice O’Brien, known throughout the State of Illinois as an excellent

   judge, served as a Justice of the Illinois Appellate Court for 16 years and as an

                                      Page 4 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 5 of 48 Page ID #39231



   Illinois trial judge for 10 years. She authored nearly 150 published appellate

   opinions and hundreds more unpublished opinions on a wide range of issues and

   served as the Presiding Judge of her Division and on the Executive Committee of

   the Appellate Court. As a trial judge, Justice O’Brien served in all the major areas

   of the trial courts, including civil, chancery, foreclosures, probate, family, criminal

   and juvenile. Justice O’Brien graduated with her B.A. from University of Notre

   Dame and received her J.D. from University of Notre Dame Law School and her

   M.A. in theology from St. Mary-of-the-Woods College. She is licensed by the

   Supreme Courts of Illinois, Missouri and the United States. Justice O’Brien is the

   recipient of the “Women of Achievement” (1995) and the “Edward F. Sorin” (2007)

   awards from the University of Notre Dame. She was granted the “Outstanding

   Women in America” award (1985 – 1990) and “Women’s Bar Association of

   Illinois” award in 2007.

         Defendants asked Justice O’Brien “to form opinions, based upon my

   expertise, experience and examination of the existing record, regarding:

         (i)    Judicial elections in Illinois.
         (ii)   Contributions in judicial campaigns.
         (iii)  The judicial process.
         (iv)   The standards for judicial recusal.
         (v)    The vote and mandate in IL S Ct’s 2005 opinion in Avery v. State
                Farm Mutual Insurance Co., and its ramifications.
         (vi)   Professor Joanna Shepherd’s opinion in this case, based on select
                social-science studies, that Justice Lloyd A. Karmeier likely
                “influenced” the five other Justices in the Avery decision.
         (vii) Mark Harrison’s opinion in this case that Justice Lloyd Karmeier
                should have recused himself from the Avery decision and that his
                failure to do so “tainted” the decision.
         (viii) Whether the briefs filed by State Farm on January 31, 2005 and
                September 19, 2011 before the Illinois Supreme Court conformed to

                                       Page 5 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 6 of 48 Page ID #39232



               the standards of appropriate advocacy, and the opinions of Professor
               Bruce Green and Thomas Myers to the extent the bear on that issue.”

         In preparing her report, Justice O’Brien based her opinions on her

   experience as a practicing attorney, a trial attorney, a trial judge, an appellate

   judge, a resident of the Fifth District of Illinois, as a resident of Cook County, a

   member judicial committees and councils, a candidate for office, a campaign

   chair for judicial campaigns and her review of many of the pleadings and

   documents in this case that were provided by attorneys for defendant State Farm.

         Plaintiffs contend that Justice O’Brien’s report is sweeping, irrelevant and

   unreliable as to other judges’ knowledge, desires, and motivations, the weight of

   the evidence, the credibility of testimony, whether Justice Karmeier should have

   recused himself in Avery and whether his participation affected the outcome.

   Plaintiffs argue, that while Justice O’Brien is a fine jurist who served the public

   for years, her opinions are not admissible as she is not qualified, her opinions are

   not reliable and her opinions will not assist the trier of fact in understanding the

   issues in this case. Specifically, plaintiffs contend that Justice O’Brien does not

   have enough experience or specialized knowledge to render the opinions. Also,

   plaintiffs argue that from her limited experience Justice O’Brien cannot opine

   about what all judges do and that she draws from her personal experiences to

   predict what other judges would do.       Defendants, in turn, argue that Justice

   O’Brien is qualified because of her relevant experience, knowledge, training and

   education; that she reliably applied her experiences and expertise to the matters




                                      Page 6 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 7 of 48 Page ID #39233



   on which she opines and that her reasoning in reaching her opinions reliably ties

   her conclusions to the facts and to her knowledge and expertise.

           Here, the Court finds that pursuant to Rule 702 Justice O’Brien’s report is

   based on speculation, irrelevance, and lacks reliable methodology. In short, her

   report and testimony will not assist the jury. First, examining Justice O’Brien’s

   report, the Court finds that she clearly is well qualified to testify about certain

   judicial matters. Justice O’Brien has had experience in three different courts in

   Illinois, spanning twenty-six years at her retirement in 2011.       She does not,

   however, have experience with the Illinois Supreme Court as a law clerk or a

   member of the Court. She did not list experience practicing before the Court but

   did have an office in the same building as the Chicago members of the Court

   which gave her access to their law clerks. She has been active in several bar

   associations, some of which entailed committee work and presentations on a

   variety of topics. Moreover, owing to her state of residence and position, she has

   been involved in seven election campaigns for judicial positions, including her

   own and those of six other judicial candidates.       For the topics she has been

   tasked with examining for this case, she is qualified to testify as an expert witness

   for certain topics but not all.   For all of the topics, both those she would be

   qualified to discuss and others not likely so, there is an adverse issue of her

   report and testimony meeting the standard of Federal Rule of Evidence 702 and

   Daubert because of irrelevance or failed methodology, and a failure to assist the

   jury.



                                       Page 7 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 8 of 48 Page ID #39234



         As to her opinions about judicial elections in Illinois (paragraphs 21 -27 of

   her report), the Court finds that these statements, while relevant in most respects,

   do not assist the jury because as to statutes and rules the Court, as the arbiter of

   the law in the case, is in a better position to instruct the jury regarding any laws

   that must be established for the jury’s consideration. Moreover, Justice O’Brien

   mixes in some opinion testimony without telling us the reason for her opinion.

   This lack of methodology is a common theme throughout her report and

   testimony creating an issue for this Court when attempting to tie her experience to

   her stated opinions. For example, specifically in this segment of her report, she

   opines on topics such as how voters assess judicial candidates which she believes

   to be observing them on the campaign trail. Her supposition based on seven

   judicial campaigns represents just that without reliance, apparently, on any

   studies or interviews and the like. One might suppose that in last ten or fifteen

   years most voters make their election decisions based on internet research, the

   local newspaper, or the literature hanging periodically from their front door knob.

   One has to wonder, but is not advised by any methodological support, how many

   of voters actually have observed a judicial candidate.        Justice O’Brien tells of

   appearances, but those likely are comprised of partisan rallies and fundraisers.

   Justice O’Brien’s recitation of the law that requires judges be elected to the Illinois

   Supreme Court has some relevance, but since it is common knowledge an expert

   witness is of no help to the jury. The rest of this section is irrelevant to this case.




                                        Page 8 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 9 of 48 Page ID #39235



         In section D(ii) of her report, Justice O’Brien’s opinions are inadmissible

   because she fails to apply reliable principles and methods to the facts in the case.

   In addition, the discussion contained therein will not assist the jury with the

   issues in the case. Justice O’Brien opines on the subject of candidate Karmeier’s

   knowledge of his campaign donors by drawing on her experience in her campaign

   and her interpretation of the judicial code of conduct rule (67(B)(2)) governing

   campaigns.     She does not explain how she is able to draw conclusions and

   opinions based on her personal experience as it relates to the issues in this case.

   As indicated, she does look to the code of conduct, her interpretation of it, and

   three advisory opinions from two different organizations. Her conclusion is that a

   judicial candidate should not attempt to learn who his or her donors are. Her

   discussion is not helpful to the jury and is inadmissible. One reason her potential

   testimony in this area is not helpful is that her ultimate conclusion is that the rule

   favors a judicial candidate deliberately avoiding any knowledge of campaign

   contributions and once a judge knows he or she need not recuse when a donor is

   one of the lawyers or a party in a case. Moreover, she would have the jury believe

   a judge need not disclose the nature of donations of those involved in a case. In

   examining the three opinions she relied upon to support her conclusions, she

   highlighted the parts that infer her conclusion but in a vacuum and omitted parts

   which demonstrate the opposite is true. However, it should be understood first

   that based the requirements of the law in the area of campaign contributions, the

   entire discussion is irrelevant. The law required reporting donations of $150 or



                                       Page 9 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 10 of 48 Page ID
                                 #39236


 more and those records were public.         10 ILCS 5/9-10, 11.      The campaign

 contributions which are at issue in this case were far greater than that threshold.

 Nonetheless, a fair reading of the opinions relied upon by Justice O’Brien is that

 the rule requires that a judge disqualify himself or herself in a proceeding in

 which the judge’s impartiality might reasonably be questioned (Opinion 95-11 of

 the Illinois Judges Association). Allowing a judge to be informed of those

 contributions in excess of $150 while not allowing him or her to know of those

 below the threshold would seem to be counterproductive, according to the

 opinion, and likely the reason it was never incorporated into the commentary of

 the Illinois Code of Judicial Conduct (Opinion 95-8 of the Illinois Judges

 Association).   Opinion 866 of the Illinois State Bar Association is completely

 irrelevant as described by Justice O’Brien and interpreted by the Court.         The

 issue in this case relative to a lawyer, William Shepherd, is whether he violated

 and conspired to violate the RICO Act. If it was a simple matter of being wrong,

 the Court would let the jury decide the point. Instead the discussions relative to

 this expert go to the Court’s function in assessing the reliability of the witness’

 methodology.

       The position taken in Section D(iii) is the subject of the Court’s order ruling

 on a motion in limine and this part of the report and Justice O’Brien’s opinions

 are inadmissible.




                                    Page 10 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 11 of 48 Page ID
                                 #39237


       Next, the Court notes that Justice O’Brien’s comments on the judicial

 process in Illinois (paragraphs 40-48 of her report), are barred by the Court’s

 ruling relative to a motion in limine on the subject.

       Section D (iv)(a) having to do with judicial substitution is irrelevant.

 Substitutions of judge occur in the lower courts and is not an issue in this case.

 One might say, as did Justice O’Brien, that not being able to substitute judges in

 the Supreme Court of Illinois is a problem. It is not. The Illinois Constitution,

 Article VI, Section 3 provides that the Court is made up of seven judges and it

 only requires four to constitute a quorum. This discussion does not help the jury

 understand the facts in this case, in particular Justice O’Brien’s hypothetical

 regarding one plaintiff and six defendants all moving to substitute (remove) a

 different justice. The point raises an irrelevant set of facts and an extreme

 example not implicated in this case. Clearly, with the understanding that the rule

 requires any judge to disqualify himself or herself from a case in which the judge’s

 impartiality might be called into question (Illinois Supreme Court Rule 63(d)

 together with the Supreme Court quorum rule, the discussion in this section is

 irrelevant and does not help the jury understand the facts.

       Section D(iv)(b) dealing with judicial recusal is likewise inadmissible.

 Paragraphs 55 - 59 are essentially a recitation of rules of procedure without

 opinion. Paragraph 60, however, constitutes an opinion. Paragraph 60 reads:

           I have seen no evidence that Justice Karmeir should have recused
      himself in 2005. There was no case or rule requiring recusal based on
      campaign contributions. In 2011, Justice Karmeier did not participate



                                    Page 11 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 12 of 48 Page ID
                                 #39238


      in the Illinois Supreme Court’s decision denying the plaintiffs’ Petition
      to Recall Mandate.


       Looking at the first sentence, to the extent that it represents a report of

 Justice O’Brien having examined whatever part of the record she actually

 reviewed (her deposition revealing that she did not read a number of documents

 she was provided), that she has “seen no evidence” of a requirement for Justice

 Karmeier to recuse is not helpful for the jury and will not be allowed. The Court

 notes that what this expert did not write was that she examined the record in

 Avery case and based on her analysis (describing what that was) she is of the

 opinion that Justice Karmeier was not required to recuse from the case because

 (and state why). Federal Rule of Civil Procedure 26, Federal Rule of Evidence 702

 and Daubert all require a methodology that leads to reliable conclusions. Her

 lack of methodology is fatal to this opinion.      Moreover, the opinion simply

 represents ipse dixit. The witness leaves the jury with only the bottom line and

 supplies nothing of value upon which jury can assess the opinion. See, General

 Electric Co. v. Joiner, 522 U.S. 136, 146 (1997), Bourelle v. Crown Equipment

 Corp., 220 F.3d 532, 538 (7th Cir. 2000), and Rosen v. Ciba-Giegy Corp., 78 F.3d

 316, 319 (7th Cir. 1996).

       It is possible that paragraph 60 may simply be a set-up or lead-in for

 paragraph 61.    The information and opinion in paragraph 61, where Justice

 O’Brien discusses a “duty to sit” has been stricken by the Court pursuant to a

 motion in limine.    To the extent that paragraph 60 is inextricably tied to

 paragraph 61 it is deemed inadmissible for that additional reason.

                                   Page 12 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 13 of 48 Page ID
                                 #39239


       In section D(v), Justice O’Brien takes on a topic which encompasses the

 vote and mandate in the Illinois Supreme Court’s 2005 Avery Opinion

 (paragraphs 62-65 of her report). Paragraph 62 is a recitation of Section 3 of

 Article VI of the Illinois Constitution. The next paragraph interprets a number of

 Illinois appellate and Illinois Supreme Court opinions to present scenarios of

 what occurs when the Illinois Supreme Court is ruling on cases in the absence of

 a full court and therefore opines on the meaning of those cases. Justice O’Brien

 tracks Justice Karmeier’s votes in Avery by examination of the opinion.        Her

 analysis leads to a conclusion that there is “no basis in the record to conclude

 that a recusal by Karmeier would have changed the outcome in the case.” There

 is ample debate regarding that opinion and if that were the only objection to the

 conclusion reached a different result may occur.         Debatable conclusions, if

 allowed, are always subject to cross examination and the jury is allowed to assess

 whatever credibility and weight it deems appropriate in light of all the evidence.

 Justice O’Brien’s methodology and lack of a specific finding to support her

 opinion (aside from a generalized review of all the records, which by law do not

 include any information regarding the Illinois Supreme Court’s deliberation),

 causes this Court to find her methodology for this opinion to be unreliable.

 Sometimes debatable conclusions sink to the level of rank speculation, as in this

 instance. Moreover, this part of her report and testimony falls within the

 prohibition of the ruling pursuant to the motion in limine regarding the vote count

 in the Avery case. Therefore, it is inadmissible for that reason as well.



                                    Page 13 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 14 of 48 Page ID
                                 #39240


       The next section in Justice O’Brien’s report is a response to Professor

 Joanna Shepherd (paragraphs 66-74 of her report).       In her report, Professor

 Shepherd goes into great detail regarding the empirical research she has

 conducted over the years which led to her opinions in this case. Relying on peer

 reviewed articles and utilizing empirical research passes the kind of scrutiny

 required by Rule 702 and Daubert. However, Justice O’Brien’s conclusions in

 this area are rank speculation. Justice O’Brien casts off Professor Shepherd’s

 opinions calling them speculation since common sense would clearly lead one to

 understand that it is impossible to know exactly what took place in the conference

 and deliberations of the Illinois Supreme Court in Avery.     However, Professor

 Shepherd relies on peer reviewed empirical studies, not speculation, and her

 opinions result from reliable methodology.     After having just pointed out the

 speculative nature of the endeavor to know exactly what happened in the Avery

 deliberations, as part of her basis to support her opinions and try to cast doubt

 on Professor Shepherd’s opinions, in paragraphs 70 through 74 of her report,

 Justice O’Brien speculates about Justice Karmeier’s lack of influence as well as

 whether Justice Karmeier has broken his promise to the people of Illinois and the

 voters of the Fifth District that all his rulings would be based on law and facts.

 Justice O’Brien does not advise how she came to that conclusion or explain her

 methodology for such an all-encompassing conclusion about Justice Karmeier.

 She so opines in the context of trying to demonstrate how one expert who relied

 on peer reviewed empirical studies could not possibly draw better conclusions



                                   Page 14 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 15 of 48 Page ID
                                 #39241


 than her conclusions which are based on speculation and an unstated

 methodology.     While the defendants in this case may certainly cross examine

 Professor Shepherd, Justice O’Brien’s speculation about the lack of Justice

 Karmeier’s influence will not be allowed.


       Next, as to section 7 (paragraphs 75-81of her report), a response to Mark

 Harrison, plaintiffs’ expert on ethical issues, the Court once again must disallow

 the testimony due to the lack of a reliable methodology in arriving at her opinions.

 All of the contents of the report in this section run afoul of this Court’s ruling on

 similar issues heretofore. Paragraph 79 is stricken by the Court’s ruling in limine

 regarding the duty to sit. Moreover, the Jorgenson case on which Justice O’Brien

 relies is inapposite to the facts in the case at bar.

       Lastly as to section 8 (paragraphs 82-91 of her report), Justice O’Brien’s

 opinions regarding the propriety of State Farm’s briefs from January 31, 2005

 and September 19, 2011, the Court excludes these opinions as these opinions

 invade the province of the jury and once again lacks a reliable methodology. Here,

 Justice O’Brien describes her methodology briefly. In paragraph 86 she states:

      “To determine how to apply the Supreme Court Rules, here Rule 137,
      courts examine other cases involving similar situations. Apotex Corp. v.
      Merck Co., 229 F.R.D. 142 (N.D. Ill. 2005) is similar to the Avery case.
      There, as here, a party claimed that statements made in briefs
      constituted fraud: ‘Read fairly in context, however, the lawyers’
      statements in Merck’s briefs were not an attempt to characterize the
      truth as an omniscient observer might see it. Rather, they were
      comments on the sufficiency of the evidence that was submitted in the
      case. … It was not a “fraud” for Merck to argue the inferences from the
      evidence that had been presented in the case – even if it now turns out
      that the evidence that was presented might not have represented the full
      story.’ Id. at 147.”

                                      Page 15 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 16 of 48 Page ID
                                 #39242




       Justice O’Brien cites an order from a trial court in Chicago, albeit from an

 excellent judge with a more than favorable national reputation, but aside from

 being a non-precedential order, the trial judge did not analyze the challenged

 language in the way asserted by Justice O’Brien. The Court finds that Justice

 O’Brien’s analysis based on her finding that witness Professor Green failed to

 address the way one challenges pleadings to be irrelevant.      This pervades the

 province of the jury and her opinion on this issue, her methodology is not reliable,

 the report and testimony in this regard will not be allowed.       Accordingly, the

 Court GRANTS plaintiffs’ motion to exclude the testimony and expert report of

 Justice Shelia M. O’Brien (Doc. 713).

       Michael T. Reagan (Doc. 714)

       Michael T. Reagan is an Illinois lawyer practicing law since 1972.

 Currently, he is a solo practitioner in Ottawa, Illinois. Prior to that he was a

 partner with the law firm of Herbolsheimer, Lannon, Henson, Duncan & Reagan,

 P.C., with offices in Ottawa and LaSalle, Illinois. He is a member of both the

 Illinois Trial Lawyers Association and the Illinois Association of Defense Trial

 Counsel.   His practice concentrates on civil trials and appeals.     He has been

 recognized as a top 10 among Illinois Appellate Leading Lawyers, top 100 Illinois

 Super Lawyers, and Best Lawyers in America (in Appellate law). Throughout his

 practice of law, Reagan has handled appeals and presented oral arguments in

 every district of the Illinois Appellate Court, in the Illinois Supreme Court and in




                                   Page 16 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 17 of 48 Page ID
                                 #39243


 the Seventh Circuit Court of Appeals. He has also participated in about 30 cases

 which were decided by the Illinois Supreme Court.

       Defendants asked Reagan “to offer opinions in rebuttal to those expressed

 by Plaintiffs’ designated experts Mark Harrison and Joanna Shepherd concerning

 Avery v. State Farm Mutual Automobile Ins. Co., 216 Ill.2d 100 (2005), and to

 offer my opinions in respect to several questions relating to the decisions

 rendered by the Illinois Supreme Court in Avery which are relevant to my rebuttal

 opinions.” (Doc. 714-1, p. 2).

       In     his   report,    Reagan,    inter   alia,   provided     the   following

 opinions/observations:

       -    I make the following additional observations. Based on my experience
            with matters before the Illinois Supreme Court, the Court is diligent in
            the issuance of its opinions, such that the bulk of its opinions are issued
            within approximately five months from the date of oral argument, with
            most of the opinions being issued before that time. It is my further
            opinion that accordingly as time passes beyond the five-month point.
            [sic] it becomes increasingly likely that an opinion will issue soon. It is
            my further opinion that an informed party could not reasonably believe,
            even in the summer of 2004, that, even if Justice Karmeier won the
            election in November 2004, he would be sworn in before the issuance of
            the Avery opinion.
            Orders in the Illinois Supreme Court on motions generally do not
            provide an explanation for the ruling. For example, no reason was
            provided by the Court in either its March 16, 2005 order or its
            November 17, 2011 order. Consequently, it is not known whether the
            parties’ submissions provided the basis for those rulings.
       -    Mark I. Harrison, in his expert report, speculates about what would
            have happened in Avery if Justice Karmeier had not participated. We
            know that Justice Thomas was not participating. Accordingly, under
            Mr. Harrison’s hypothetical, two justices would not be participating in
            his hypothetical posture. The Constitution of Illinois, 1970, Article VI,
            Section 3, requires that four justices of the Supreme Court concur in
            order to take action. In Perlman v. First National Bank of Chicago, 60
            Ill.2d 529 (1975), two justices recused themselves and the remaining

                                     Page 17 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 18 of 48 Page ID
                                 #39244


           members of the court were divided such that the necessary concurrence
           of four justices could not be obtained. As a result, the appeal in
           Perlman was dismissed.
           Mr. Harrison asserts without qualifications that under his hypothetical
           premise, with Justice Karmeier not participating that “in Avery, if the
           Supreme Court had remained ‘deadlocked’ but had followed the
           Perlman decision – as it has in five other cases – the $1.05 billion
           judgment of the intermediate appellate court against State Farm would
           have been affirmed.”
       -   While knowing that it is impossible to predict with certainty how Avery
           would have been resolved but for Justice Karmeier’s participation, the
           actual text of the two opinions in Avery are strong evidence that
           undercuts Mr. Harrison’s speculative opinion. … Based on the Avery
           text, it is exceedingly doubtful that Mr. Harrison’s speculative opinion
           about the Avery outcome absent Justice Karmeier’s participation would
           have been realized. It would have been much more highly likely that the
           five remaining members of the court would have issued collective
           opinions vacating the appellate court’s opinion. FN. 1 – Such opinions
           would most likely have also affirmed that portion of the appellate court
           judgment which affirmed the circuit court’s denial of equitable relief and
           which reversed the circuit court’s award of disgorgement damages.
       -   Based on legal research undertaken at my direction, in those civil cases
           from 2003 through 2005 in which a PLA is allowed, such as Avery, in a
           majority of the cases, the lower court was reversed, in whole or in part.
           … Purely as a matter of statistics, once the Court decided to hear the
           Avery appeal, it was likely that some aspect of the lower court’s decision
           in Avery would be reversed.
       -   It is my opinion that each of those justices had clear views of the law and
           of their role on the court. While each of those members of the court is
           respectful of the views of their fellow justices, it is my opinion that in
           2005 it is unlikely that Justice Karmeier would have been able to sway
           their opinion to divert from what their independent view of the law was
           based upon their own knowledge and research, and the work of their
           individual clerks. The other members of the court were each strong
           personalities with individualistic well-formed judicial approaches, with
           many years of substantial service. They were each known to be strong,
           independent proponents of their own views. … Each of those justices
           also had strong views of the law, and they each had significant
           experience on the appellate court before ascending to the Supreme
           Court. They, too, would vote their minds and their consciences.

 (Id. at 714; p. ¶¶ 20, 21, 22, 29, 49, 61, 63, 71 & 77).




                                    Page 18 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 19 of 48 Page ID
                                 #39245


         Plaintiffs contend that Reagan’s general legal experience does not qualify

 him to offer his specific opinions.     Additionally, plaintiffs contend that his

 opinions are not based on sufficient facts, data or a reliable methodology.

 Defendants counter that Reagan is highly qualified to provide opinions about the

 Illinois Supreme Court and the Avery opinion. Further, defendants assert that his

 opinions are reliable based on his knowledge and experience, that his rebuttal of

 Professor Shepherd and Harrison are proper and that his opinions will assist the

 jury.   The Court agrees with plaintiffs that Reagan’s opinions lack a reliable

 methodology.

         The Court finds that Reagan’s report and testimony do not survive a Rule

 702 analysis as the Court finds that his report and testimony will not assist the

 jury. A review of the report indicates that it is nothing more his “observations”

 which state what appears on the surface or what he gleaned from the documents.

 Paragraphs 1 through 19 of the report are spent establishing Reagan’s

 qualifications and reciting the materials his considered in arriving at his

 conclusions. The latter materials are case specific documents in the Avery case.

 Reagan simply refers to his experience, which is extensive, and draws a

 conclusion about a particular hypothesis without using empirical studies or

 documentation for year-to-year statistics.   Missing from Reagan’s report is any

 documentation related to “statistical” analysis for his various conclusions and

 opinions about the Illinois Supreme Court and the occupants of that bench.

 Without a reliable methodology, his opinions are not reliable and will not provide



                                    Page 19 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 20 of 48 Page ID
                                 #39246


 any benefit to the jury. Further, without valid documentation upon which Reagan

 can rely, it is his testimony that is speculation, not Mark Harrison’s testimony.

 Reagan’s testimony throughout is based on speculation and his experience

 without reference to a reliable methodology.       Even when citing to the Illinois

 Supreme Court cases, he fails to be specific regarding his testimony.        In fact,

 when Mr. Clifford, during Reagan’s deposition, tried to elicit information from

 Reagan about his methodology, Reagan generally fell back on his years of

 experience, which is not sufficient under these circumstances. See Tyus v. Urban

 Search Management, 102 F.3d 256 (7th Cir. 1996).

       Reckoning back to a moderately popular television series, Boston Legal,

 which aired from 2004 through 2008, the aging district judge, Robert Sanders

 (played by Shelley Berman), would read Reagan’s report and deposition and sum

 up both succinctly with two simple words … “jibber jabber.”             Clearly, his

 observations do not rise to the level of expert testimony and will not help the jury.

 Accordingly, the Court GRANTS the motion to exclude expert report and

 testimony of Michael T. Reagan (Doc. 714).

       Bruce Dubinsky (Doc. 718)

       Bruce Dubinsky is an expert on forensic accounting. He is a certified public

 accountant, certified fraud examiner, certified anti-money laundering specialist,

 master analyst in financial forensics and certified in financial forensics. He is a

 Managing Director in Disputes & Investigations practices and the leader of Global

 Business Development & Strategy at Duff & Phelps, LLC. Dubinsky’s practice



                                    Page 20 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 21 of 48 Page ID
                                 #39247


 places special emphasis on providing forensic accounting, fraud investigations

 and dispute analysis services to clients litigating commercial cases, as well as

 corporations, governmental agencies, and law enforcement bodies. He has over

 30 years of financial investigative experience and has served as an expert witness

 on nearly 100 occasions on cases involving financial fraud, Ponzi schemes, and

 SEC and FINRA enforcement. From Dubinsky’s report and an examination of his

 profile on his firm’s website, the Court finds that Dubinsky clearly is qualified to

 be an expert in this matter and Plaintiffs do not seem to contest his qualifications.

       In preparing his report, Defendants asked Dubinsky “to review the

 Supplemental Expert Report of Thomas Myers (“Myers”), a designated expert for

 the Plaintiff, dated September 24, 2017 (the “Myers Report”) and to provide

 expert forensic accounting opinions (the “Assignment”) related thereto.       I have

 read and analyzed the Myers Report, as well as reviewed additional information

 and provide my rebuttal opinions to the Myers Report herein.” (Doc. 836-1, p.

 1)(footnotes omitted).

       In preparing his report, Dubinsky asserts that the information he

 considered amounted to documents provided by counsel upon his request, a

 database of documents produced by plaintiffs and defendants in the litigation,

 and depositions. He additionally obtained some information by finding publicly

 available documents.

       In summary, Dubinsky opined:

       (1) Based on my thorough evaluation of the Myers Report and his sworn
           testimony in this case, as well as my review of additional information, I

                                    Page 21 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 22 of 48 Page ID
                                 #39248


          find that Myers did not utilize commonly accepted and required forensic
          accounting methodology and techniques in reaching his opinions in this
          matter. In fact, at its core, the work he performed did not include any
          real accounting or complex financial analysis of any kind. Instead,
          Myers employed highly subjective, ad hoc techniques that bear little, if
          any, resemblance to generally accepted forensic accounting profession.
          For these reasons, the Myers Report presents opinions and conclusions
          that are illogical, flawed, misleading, highly speculative, and
          untrustworthy.

       (2) The Myers Report concludes that State Farm controlled “Affiliated
           Organizations.” Myers claims that after annual dues payments or initial
           contributions, State Farm controlled the flow of the money all the way
           through to Justice Lloyd Karmeier’s (“Karmeier”) campaign, either
           through direct or indirect means in order to: 1) ensure Karmeier’s
           election, and 2) ultimately have the Avery decision overturned. The
           Myers Report, however, both 1) lacks objective evidence supporting
           these conclusions and 2) uses a failed and improvised “methodology”
           purportedly to create what he calls a money trail.

       (3) The flaws in Myers’ ad hoc approach is demonstrated by the fact that the
           precise same allegations were made in the Price case attributing the
           exact same dollars to Philip Morris for almost the exact same reasons as
           employed by Myers (see discussion infra on the Price case).

 (Doc. 836-1, ps. 8-9) (footnote omitted).

       Plaintiffs argue that Dubinsky erroneously criticizes Myers for not following

 proper “tracing” methodology set forth in the AICPA Guidelines and that he falsely

 asserts that the AICPA describes a clear methodology that needs to be followed in

 order to reliably perform tracing and that this is clearly missing from Myers’

 report. Plaintiffs maintain that the AICPA Practice Aid does not provide such a

 standard and that the Practice Aid states as much. Further, plaintiffs argue that

 Dubinsky’s methodology is inadequate because he failed to review all of Myers’

 footnotes and much of the documentary evidence supporting Myers’ Report. In

 turn, defendants argue that Dubinsky opinions are reliable as they are his


                                    Page 22 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 23 of 48 Page ID
                                 #39249


 characterizations and criticisms of Myers’ testimony; that plaintiffs distort

 Dubinsky’s methodology and that Dubinsky has ample foundation to use the Price

 allegations as critical evidence of the flaws in Myers’ analysis.                  Based on the

 following, the Court agrees with plaintiffs’ reasoning.

        Here, despite the fact that Dubinsky is more than qualified as an expert, the

 Court finds that Dubinsky’s report and testimony do not pass the requirements of

 Rule 702 and Daubert.              Specifically, the Court concludes that Dubinsky’s

 opinions are not based on sufficient facts or data, are not the product of any

 reliable methods or principles and that Dubinsky did not reliably apply the

 principles and methods to the facts of the case. In reaching his conclusion that

 Myers did not employ any commonly accepted forensic accounting methodology,

 Dubinsky relies on an American Institute of Certified Public Accountants

 (“AICPA”) Practice Guide, in which Dubinsky contends that the AICPA describes

 as a clear methodology that needs to be followed in order to perform reliable

 tracing and that methodology is missing from Myers’ report.                     In footnote 1 of

 Dubinsky’s report, Dubinsky refers to the AICPA Forensic & Valuation Practice

 Aid, which plaintiffs’ expert Dolores K. Rinke discounted as a non-authoritative

 source and so did Dubinsky, by his own admission during his deposition. 2 If it



        2
            In her report, Professor Rinke states: “However, Dubinsky’s ‘standards’ for forensic
 accounting aren’t standards at all. Even the Practice Aid states as much: … Dubinsky ignores this
 part of the Practice Aid, however, because he cites it as support for his opinions that: ‘[t]he AICPA
 provides an analytical framework regarding forensic accounting (including improper money
 tracing), detailing actions that should be taken during any analysis’ and ‘[t]he AICPA describes
 clear methodology that needs to be followed in order to reliably perform tracing.’ What the
 Practice Aid describes is the ‘Seven-Step’ Method discussed above. Though an acceptable method
 of investigation, it is not the only ‘methodology that needs to be followed.’ Neither of Dubinsky’s

                                           Page 23 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 24 of 48 Page ID
                                 #39250


 was a simple matter of being wrong, the Court would let the jury decide the point.

 Instead this issue goes to the Court’s function in assessing the reliability of the

 witness’ methodology. It appears the AICPA agrees with Rinke since the landing

 webpage for this practice aids contains this statement:

       “The Forensic and Valuation Services (FVS) Section of the AICPA offers
       access to these Practice Aids and other non-authoritative guidance to
       FVS Section members as a benefit of their membership or at an FVS
       Section member discount. “These practice aids are designed to serve as
       educational and reference material on technical issues and are not
       intended to serve as authoritative guidance. FVS members should
       exercise independent, professional judgment in the implementation and
       execution                of                FVS                services.”
       https://www.aicpa.org/interestareas/forensicandvaluation/resources/prac
       taidsguidance.html.

 In addition, a review of the AICPA Practice Aid reveals that it does not

 provide such a standard that Dubinsky criticized Myers for not following in

 regards to proper tracing. Specifically, the Practice Aid states:

       “This publication provides illustrative information for the subject
       matter covered. It does not establish standards or preferred practices.
       The materials were prepared by the AICPA staff and volunteers and has
       not been considered or acted upon by AICPA senior technical
       committees or the AICPA board of directors and does not represent an
       official opinion or position of the AICPA. …”

 Forensic and Valuation Services Practice Aid, Forensic Accounting-Fraud

 Investigations, p. 3.        The Practice Aid merely suggests seven investigative

 techniques which are available to employ in an investigation depending on the

 circumstances. Further, the Practice Aid does not mention tracing, nor does it set




 statements is true. … Moreover, that same Practice Aid doesn’t even mention tracing, let alone set
 forth a ‘clear methodology that needs to be followed.” (Doc. 712-2, ps. 20-21)(footnotes omitted).


                                         Page 24 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 25 of 48 Page ID
                                 #39251


 forth a clear methodology that needs to be followed. Additionally, page 9 of the

 Practice Aid under hearing Limitations of This Practice Aid, reads:

      The guidance in this document is not a substitute for experience,
      professional judgment, or skepticism, but is meant to supplement your
      understanding of how and when these tools and techniques may be
      useful in obtaining additional evidence that would otherwise not be
      available during the course of an audit or other engagement. Forensic
      accounting and litigation consulting engagements often require the use
      of specialists who have specific training in areas such as data forensics,
      handwriting analysis, and private investigations. Because of the multi-
      disciplinary nature of these engagements, you should always be alert to
      situations where you are being asked by a client or counsel to perform a
      procedure or express an opinion that is outside of your practice area or
      competency. These situations present significant professional risks;
      engagement planning steps should include resource planning so that
      the necessary skill sets are appropriately provided and risk s may be
      avoided. Technical consulting practice aids do not purport to include
      everything you need to know or do in order to undertake a specific type
      of service. Furthermore, engagement circumstances differ and therefore
      your professional judgment may cause you to conclude that an
      approach described in a particular practice aid is not applicable. This
      practice aid is designed as educational and reference material for AICPA
      members and others who provide consulting services as defined in CS
      section 100.

 Forensic   &   Valuation   Services   Practice   Aid,   Forensic   Accounting-Fraud

 Investigations, p. 9. Clearly, the ACIPA provides no such standard as Dubinsky

 seeks to enforce upon Myers. Thus, his opinions and testimony do not pass the

 Rule 702 and Daubert scrutiny. As to Dubinsky’s testimony/opinions regarding

 Philip Morris and Price, the Court finds, pursuant to Rule 403, this evidence is

 not proper as it is confusing, it is unreliable and it would mislead the jury about

 the issues in this case. Thus, the Court GRANTS plaintiffs’ motion to exclude

 expert report and testimony of Bruce G. Dubinsky.

       Joanna M. Shepherd (Doc. 711)


                                   Page 25 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 26 of 48 Page ID
                                 #39252


        Joanna M. Shepherd is a Professor of Law at Emory University School of

 Law and an Adjunct Professor at the Emory University Department of

 Economics. 3      She has a PH.D. in Economics, with specializations in Law &

 Economics and Econometrics.                Professor Shepherd has had her research on

 judicial decision-making published in a number (ten) of peer reviewed journals 4,

 has been cited with favor by the United States Supreme Court, Williams-Yulee v.

 Florida Bar, 135 S.Ct. 1656, 1675 (2015) 5 and she currently teaches a course on

 Judicial Behavior.        In addition, Professor Shepherd has been qualified as an

 expert in a DEA matter and in another federal district court. Reviewing Professor

 Shepherd’s qualifications, obviously she has extensive experience in her field and

 is an expert in her field of judicial decision making.




 3
   Out of an abundance of caution, and full disclosure, the undersigned judge advises that he is a
 member of the Judicial Advisory Board of the Emory University Law School Institute for Complex
 Litigation and Mass Claims. The undersigned does not know Professor Shepherd and has not
 worked with her regarding the institute or any other reason. Examining her photograph on the
 Emory website confirms that the undersigned has not worked with her, nor even seen her during
 the time he has spent on campus. The undersigned has no financial interest in Emory University,
 nor any financial connections to Professor Shepherd and receives no remuneration for his
 advisory work. Therefore, the Court does not find a reason to recuse himself from the
 consideration of this motion or sitting in this case. Should any party wish to be heard on this
 matter, the appropriate motion should be filed.
 4
    Her research appeared in Stanford Law Review, Michigan Law Review, Vanderbilt Law Review,
 Southern California Law Review, New York University Law Review, Duke Law Journal, UCLA Law
 Review, Journal of Legal Studies, University of Illinois Law Review, and Journal of Institutional
 and Theoretical Economics.
 5
  “Disproportionate spending to influence court judgments threatens both the appearance and
 actuality of judicial independence. Numerous studies report that the money pressure groups
 spend on judicial elections ‘can affect judicial decision-making across a broad range of cases.’
 Brief for Professors of Law, Economics, and Political Science as Amici Curiae 14 (hereinafter
 Professors’ Brief), see id., at 5–17; J. Shepherd & M. Kang, Skewed Justice 1 (2014), available at
 http://skewedjustice.org (All Internet materials as visited Apr. 24, 2015, and included in Clerk of
 Court's case file) (finding that a recent ‘explosion in spending on television attack advertisements
 ... has made courts less likely to rule in favor of defendants in criminal appeals’).” Williams-Yulle,
 135 S.Ct. at 1675.

                                           Page 26 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 27 of 48 Page ID
                                 #39253


         In preparing her report, plaintiffs asked Professor Shepherd “to write a

 report that summarizes the social science research on the influence of campaign

 funds on judicial decision-making and draws implications from that research for

 the Hale v. State Farm case.”

         Defendants argue that Professor Shepherd’s opinions will confuse the trier

 of fact and that her opinions regarding Justice Karmeier and the Avery decision

 are irrelevant. Further, defendants argue that Professor Shepherd is not qualified

 to opine about the Fourteenth Amendment or constitutional standards for recusal

 under Caperton. Lastly, defendants argue that her methodology is unreliable and

 flawed. Plaintiffs counter that Professor Shepherd’s expert report and opinions

 are based on reliable methodology, pass muster under Daubert and are relevant.

 Plaintiffs   state   that   Professor    Shepherd,      in   her   depositions,   repeatedly

 emphasized that she does not purport to opine on the requirements of the

 Constitution or the canons of ethics. Further, plaintiffs contend that she will not

 opine as to whether there are any rules that mandated Justice Karmeier to step

 down.    The Court agrees with plaintiffs’ reasoning that Professor Shepherd is

 qualified to offer her opinions about what the social literature and empirical

 research have to say about the influence State Farm’s alleged campaign

 contributions could have upon the purported impartiality of Justice Karmeier and

 the impact his participation in the Avery decision might have had upon the other

 members of the Illinois Supreme Court.




                                         Page 27 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 28 of 48 Page ID
                                 #39254


       Here, the Court rejects defendants’ arguments and finds that pursuant to

 Rule 702, Shepherd’s opinions and testimony are both relevant and reliable.

 Shepherd’s extensive experience and expansive research in this field provides

 sufficient bases for her to offer these opinions. Her testimony relates to social

 science research on the influence of campaign funds on judicial decision-making.

 After reviewing her report, it is clear that Professor Shepherd is not making up

 her conclusions. Her opinions are based on the empirical studies and various

 articles regarding these studies; many of which she was the principle researcher.

       In her lengthy report, Shepherd recounts the history of judicial selections

 and the increasing role of campaign funds in judicial elections, describes the

 significant body of empirical social science research that explores the influence

 that judicial elections, campaign fundraising and TV advertising have on judicial

 decision-making and discusses the implications of that research on the case at

 bar. The report explains that the alleged factors: (1) substantial contributions

 made by State Farm; (2) Justice Karmeier’s possible knowledge of the

 contributions; (3) the timing of State Farm’s contributions, Justice Karmeier’s

 victory, the meeting between Ed Rust and Justice Karmeier, Justice Karmeier’s

 reversing his decision not to participate in Avery and the subsequent overturning

 of Avery; and (4) State Farm’s misrepresentations about its involvement in the

 Karmeier campaign, all converge to raise serious concerns about Justice

 Karmeier’s impartiality. (Doc. 711-2).




                                   Page 28 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 29 of 48 Page ID
                                 #39255


       Further, the report compared the facts of Caperton to the alleged facts

 surrounding the 2004 Illinois Supreme Court campaign and the Avery

 proceedings. She opined about the facts of Caperton and this case. Specifically,

 Professor Shepherd opined:

      In fact, the risk of actual bias may have been even greater in the Avery
      decision than it was in Caperton. If, as alleged in the Complaint,
      defendants played any role in selecting Justice Karmeier and
      managing his campaign, then the extent of State Farm’s support of
      Justice Karmeier is seemingly more significant than Massey Coal’s
      support of Benjamin. In addition, unlike Don Blankenship and
      Massey Coal who made contributions through a §527 political
      organization that required the disclosure of contributors, State Farm
      allegedly concealed its contributions and misrepresented the extent of
      its support for Justice Karmeier to the Illinois Supreme Court.
      Certainly this concealment and misrepresentation makes the
      appearance of impropriety worse in this case and more troubling than
      in Caperton. Moreover, secrecy may actually increase the risk of
      partiality; when contributions are concealed, judges can vote for
      contributors without fearing accusations of bias. Indeed, my own
      prior research reveals that judges are more likely to favor campaign
      contributor cases in which their impartial voting is unlikely to be
      noticed.

 (Doc. 711-2, p. 14, footnotes omitted). Further, Professor Shepherd wrote

 in her report:

      Understanding the interdependency between judges’ positions and
      votes, the Supreme Court has determined that bias on the part of a
      single judge can affect the way that the entire court votes. In Williams v.
      Pennsylvania, the court considered the effect on a multi-judge panel
      when a judge for whom there existed a serious risk of actual bias
      refused to recuse himself from a case, yet did not cast the deciding vote
      in the case. FN 92, Williams v. Pennsylvania, 136 S.Ct. 1899 (2016).
      Williams involved the refusal of Justice Castille, whom had formerly
      been the district attorney that approved the death penalty case against
      Williams, to recuse himself in an application to vacate the stay of
      Williams’ execution years later. The Court concluded that, because of
      his personal involvement in the case, Castille’s failure to recuse
      presented an unacceptable risk of bias. Fn. 93, Id. at 1907.
      Importantly, the Court also determined that, even though Justice

                                    Page 29 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 30 of 48 Page ID
                                 #39256


      Castille did not cast the deciding vote, his failure to recuse himself
      tainted the entire judicial proceeding; ‘it does not matter whether the
      disqualified judge’s vote was necessary to the disposition of the case.
      The fact that the interested judge’s vote was not dispositive may mean
      only that the judge was successful in persuading most members of the
      court to accept his or her position. The outcome does not lessen the
      unfairness to the affected party.’ Fn. 94, Id at 1909.”

 (Id. at pg. 17). 6 Finally, Professor Shepherd expressed:

      “Similarly, based on the findings of the empirical social science
      literature, I would expect that Justice Karmeier’s involvement in the
      Avery decision influenced the thinking and votes of the other judges
      deciding the case. As such, it is my conclusion that the Avery decision
      was likely unfairly tainted in State farm’s favor.”

      These are the opinions that defendants seek to exclude. The Court finds that

 their arguments, however, go to the weight and/or the credibility that should be

 given to Professor Shepherd’s opinions and not to their admissibility. Further,

 defendants’ specific disputes with Professor Shepherd’s analysis are appropriate

 for subject matter for cross-examination.            Accordingly, the Court DENIES the

 motion to exclude the report and testimony of Joanna M. Shepherd (Doc. 711).

        Lastly, the Court notes that counsel Michael Kenny conducted an improper

 examination of Professor Shepherd.            Mr. Kenny picked out language that was

 dicta, and misrepresented it to Professor Shepherd and ultimately to the jury

 because his question contained incomplete facts. Were this to be heard by the

 jury, the Court is placed in the untenable position of either admitting a copy of the

 case for the untrained jury to read or give a jury instruction on what Williams

 actually holds and the impact it has on this case, which is substantial. Mr. Kenny

        6
           Reading the Williams case leads one to the inescapable position that Professor Shepherd
 is correct about the meaning and impact of the decision.



                                         Page 30 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 31 of 48 Page ID
                                 #39257


 suggests by his question that Professor Shepherd has not read the case.                     The

 Court will not tolerate this type of “gotcha” questions, especially when based on a

 false premise. Rather than read all the relevant language in the context of that

 which he quoted; he instead cherry picked some language he thought would help

 his client when in the context of what he selected actually works against his client.

 The Court SUSTAINS the objection at page 28 lines 17-19 and this portion of the

 transcript will not be read to the jury for any reason. If defendants wish to cross

 examine in a similar vein during live testimony, the question(s) must contain a

 complete recitation of what the Court said regarding that particular issue.

 Defendants can ask if the Court used the word “taint” (it did not) without that

 recitation of facts but it is unlikely any other questions about the particular issue

 can be framed without completely reading all of the Court’s statements on the

 issue.

          Delores K. Rinke (Doc. 712)

          Next, defendants’ move to exclude the report and trial testimony of Dolores

 K. Rinke (Doc. 712).        The Court DENIES as moot this motion as the Court

 excluded Dubinsky’s expert report and testimony.                Thus, the Court need not
                                         7
 address the merits of this motion.

          Richard K. Means (Doc. 715)




 7
   Plaintiffs retained Rinke “to provide objective opinions on questions of forensic accounting
 analysis as they relate to the reports of Thomas Myers and Bruce Dubinsky. I have been asked to
 review the reports and depositions of Messrs. Dubinsky and Myers to evaluate and provide
 comment on their materials and to specifically respond to Bruce Dubinsky’s criticism and analysis
 of Thomas A. Myers’ reports and testimony.”

                                         Page 31 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 32 of 48 Page ID
                                 #39258


       Richard K. Means is an Illinois election lawyer with nearly 50 years of

 experience in the field, and the founder, CEO and General Counsel of The Public

 Access Project, a civic organization/public interest law firm promoting democracy

 in Illinois. He has written and lectured on chapters in the Illinois Institute of

 Continuing Legal Education (IICLE)’s Election Law Handbooks since the 1970s.

 Means has also served on the National Board and the National Executive

 Committee of the Americans for Democratic Action (ADA) for over 20 years, and

 participated in dozens of candidate recruitments. He also founded Project LEAP

 (Legal Elections in All Precincts). Means expertise also included his 20 years of

 service as the Legislative Vice-Chair, followed by a two-year stint as State Chair of

 the Independent Voters of Illinois and his position as a hearing officer for the

 Illinois State Board of Elections in several cases. Further, during his nearly 50

 year career,   Means has litigated issues before local election boards, circuit

 courts, the Illinois Appellate Court, United States District Courts, and the Seventh

 Circuit Court of Appeals. Also during his lengthy career, Means has held

 numerous jobs at different levels within the election process. Unmistakably,

 Means is well-credentialed and well-qualified to testify as an expert and

 defendants do not seem to contest his qualifications.

       In preparing his report, plaintiffs asked Means to evaluate “the expert

 reports and deposition testimony of defense witnesses Ronald Michaelson and

 Anthony Jacob on the subjects of their testimony and their criticism of the

 testimony of plaintiffs’ witness Kent Redfield” and prepare a rebuttal report on



                                    Page 32 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 33 of 48 Page ID
                                 #39259


 Jacob and Michaelson’s testimony utilizing his experience and expertise. (Doc.

 715-2).

       In his rebuttal report, Means analyzes the facts and evidence in this case

 from the perspective of an Illinois election law expert and responds to the findings

 of Michaelson and Jacob. Specifically, Means stated:


       ”I was disappointed to read the expert reports and deposition
       testimony of Dr. Michaelson and Mr. Jacob because they describe a
       body of law and administration far different from the law and its
       administration experienced by me and other Illinois election law
       experts in 2003-2004. They describe what is little more than a
       cynical game of “find the loophole.” They describe a body of law and
       procedure which could be characterized as “all one can get away
       with.”

  (Doc. 715-2, pg. 4-5). He went on to further rebut the defense experts’
 testimony by opining:

       In this case, the evidence shows that there were numerous instances
       of contributions to issue advocacy entities and the timing of those
       transactions, the ads the issues advocates ran and the timing of those
       ads, taken with the explicit and clear evidence of coordination in an
       effort to elect Justice Karmeier, compels the conclusion that the costs
       of this issue advocacy should have been reported as in-kind
       contributions to Citizens for Karmeier. Because this spending was
       not reported to Citizens for Karmeier, each of the issues advocates
       violated the Campaign Finance Act. Because the evidence shows that
       Citizens for Karmeier knew the spending for its benefit and did not
       report those benefits as in-kind contributions on its disclosures,
       Citizens for Karmeier was in violation of the Campaign Finance Act
       as well.”

 (Doc. 715-2, pg. 9-10). Finally, Means explained that the evidence shows that the

 acts claimed to be campaign finance law violations were performed intentionally

 with the purpose of evading disclosure requirements.




                                   Page 33 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 34 of 48 Page ID
                                 #39260


       Defendants argue that Means’ report should be stricken because it is largely

 not rebuttal and, therefore, in violation of Fed.R.Civ.P. 26(a)(2)(D)(ii). Defendants

 also seek exclusion of Means’ opinions arguing that his testimony amounts to

 impermissible legal conclusions, and that he cannot opine as to the intent,

 knowledge, purpose, or willfulness of State Farm. Finally, defendants argue that

 Means’ testimony is more prejudicial than probative under Federal Rule of

 Evidence 403. (Doc. 715).

       Defendants first argue that Means’ report should be stricken because it is

 largely not rebuttal. “The proper function of rebuttal evidence is to contradict,

 impeach or defuse the impact of the evidence offered by an adverse party.” Peals

 v. Terre Haute Police Dep't, 535 F.3d 621, 630 (7th Cir. 2008), citing United

 States v. Grintjes, 237 F.3d 876, 879 (7th Cir. 2001) (internal quotation marks

 omitted). Plaintiffs argue that Means’ report complies with the law by directly

 contradicting, impeaching, and defusing the testimony of defendants’ experts

 Michaelson and Jacobs. Specifically, plaintiffs argue that “Jacob and Michaelson’s

 critique of Redfield’s report opened the door for Means to opine on those areas,

 and permitted Means to support Redfield’s original report” in his attempt to

 contradict Jacob and Michaelson’s opinions.

       Here, the Court agrees with plaintiffs and rejects defendants’ arguments.

 Pursuant to Rule 702 Means’ opinions are both relevant and reliable. Means’

 extensive experience and first-hand knowledge of Illinois campaign finance law

 provides sufficient basis for him to offer his opinions. Means found from his



                                    Page 34 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 35 of 48 Page ID
                                 #39261


 experience, relevant regulations, statutes and case law, a mode to respond to the

 defense expert and approach the issues in a way that explains why the opinion

 being rebutted is wrong. Thus, the Court finds that Means’ rebuttal is proper and

 falls squarely within the confines of Fed.R.Civ.P. 26(a)(2)(D)(ii), regardless of the

 terms employed in his report.

       Next, defendants argue that Means’ opinions should be excluded because

 his testimony amounts to impermissible legal conclusions. Defendants also assert

 that he cannot opine as to the intent, knowledge, purpose, or willfulness of State

 Farm. Here, the Court rejects defendants’ arguments and does not perceive

 anything in Means’ expert report as an attempt to offer an impermissible legal

 conclusion. This case involves allegations that State Farm violated the Racketeer

 Influenced and Corrupt Organizations Act (“RICO”). Illinois campaign finance law

 violations are neither an element of a RICO claim, nor are they predicate acts. The

 same goes for the “the intent, knowledge, purpose, or willfulness of State Farm” in

 violating those laws.

        It is clear that Means is not serving as an expert to determine where State

 Farm contributed funds and how those funds were funneled to the Karmeier

 campaign. His testimony, like that of Redfield’s, relates to campaign finance laws

 and State Farm’s violations of campaign finance laws by concealing its

 contributions to the Karmeier campaign. Means rebuts the opinions of defense

 witnesses Ronald Michaelson and Anthony Jacob. Means’ opinions regarding

 State Farm’s violations of Illinois campaign finance laws and their intent,



                                    Page 35 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 36 of 48 Page ID
                                 #39262


 knowledge, purpose, or willfulness do not usurp the role of jury because his

 opinions are not an ultimate issue in this case. Given that Means does not purport

 to answer the ultimate issue in this case as to whether there has been a RICO

 violation, the Court agrees with plaintiff’s reasoning and finds that his testimony

 is admissible.

       Lastly, defendants argue that Means’ opinions and testimony discussing the

 aforementioned Illinois campaign finance laws should be excluded under FRE

 403 for their prejudicial significance and for fear of confusing the issues and

 misleading the jury. Specifically, defendants argue that Means’ opinions,

 testimony, and “emotionally charged rhetoric and hyperbole concerning the

 purported campaign finance law violations will mislead the jury and confuse the

 issues (Doc. 715, pg. 18). Defendants allege that the proposed testimony would

 unnecessarily delay the trial and “create a significant danger that the jury would

 erroneously infer from his testimony that, because State Farm (and others)

 purportedly violated campaign finance laws, State Farm must have violated

 RICO.” (Id.). Plaintiffs, in turn, argue that Means’ opinions that State Farm’s

 conduct violated Illinois campaign finance law “is relevant context to State Farm’s

 efforts to conceal its contributions to the Karmeier campaign.” (Doc. 748, pg. 18).

       The Court rejects defendants’ arguments and finds that Means’ opinions are

 highly relevant and not unduly prejudicial for the reasons cited by plaintiffs. As

 noted above, Means does not opine on the ultimate issue in this case, and he

 testifies to “something more than what is ‘obvious to the layperson.” Dhillon v.



                                   Page 36 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 37 of 48 Page ID
                                 #39263


 Crown Controls Corp., 269 F.3d 865, 871 (7th Cir. 2001). His opinions are

 clearly relevant to provide context to State Farm’s alleged efforts to conceal its

 contributions supporting the Karmeier campaign. Therefore, his testimony would

 aid the trier of fact in this case. As noted relating to Redfield, any alleged

 prejudice or disagreement resulting from juror confusion or erroneous inferences

 from the testimony shall be eliminated through cross examination and through

 jury instructions that explicitly describe the elements and predicate acts of the

 RICO claim at issue. Accordingly, the Court DENIES the motion to exclude the

 testimony and report of Richard K. Means (Doc. 715).




       Kent D. Redfield (Doc. 716)

       With regard to plaintiffs’ expert Kent D. Redfield, a professor of Political

 Studies at the University of Illinois Springfield with 26 years of extensive

 experience and expansive research in the fields of campaign finance and political

 ethics, defendants move to exclude Redfield’s opinions and testimony with respect

 to purported violations of Illinois campaign finance laws. Defendants do not

 challenge Redfield’s qualifications or scientific validity under Daubert. Instead,

 defendants allege that expert’s opinions referencing statutory compliance, or lack

 thereof, amounts to impermissible legal conclusions (Doc. 83). Defendants also

 seek exclusion of Redfield’s opinions arguing that the evidence presented is

 prejudicial under Federal Rule of Evidence 403. Plaintiffs counter that Redfield’s


                                   Page 37 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 38 of 48 Page ID
                                 #39264


 opinions satisfy each and every part of the Rule 702/Daubert analysis and the

 risks that defendants allege, do not substantially outweigh the probative value of

 Redfield’s testimony and opinions. The Court agrees with plaintiffs and denies the

 motion to exclude.

       Seventh Circuit precedent specifies that expert testimony containing a legal

 conclusion that determines the outcome of a case is inadmissible. Fed. R. Evid.

 704; RLJCS Enterprises, Inc. v. Professional Ben. Trust Multiple Employer

 Welfare Ben. Plan and Trust, 487 F.3d 494, 498 (7th Cir. 2007); Good Shepherd

 Manor Found., Inc. v. City of Momence, 323 F.3d 557, 564 (7th Cir.2003).

 Defendants argue that Redfield’s opinions on purported campaign law violations

 fall within the purview of an inadmissible legal conclusion. Plaintiffs, in response,

 contend that Redfield does not offer legal conclusions on an ultimate issue in this

 case, and, thus, his opinions and testimony are admissible. The Court agrees

 with plaintiffs’ reasoning.

       In his report, Redfield opines that State Farm (and others) violated Illinois

 campaign finance law (Article 9 of the Illinois Election Code-10 ILCS 5/9-1.0 et al)

 in six specific areas:

       1. Not reporting in-kind contributions of goods and services
          supporting a candidate for public office thereby avoiding
          disclosure;

       2. Soliciting contributors to make contributions to a political
          committee or association with the understanding that the funds
          will be contributed to or spent on behalf of a specific candidate for
          public office thereby enabling the original source of contributions
          to support a specific candidate while avoiding being directly
          linked to the candidate by disclosure;

                                    Page 38 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 39 of 48 Page ID
                                 #39265




       3. Accepting a contribution with the understanding that the funds
          will be contributed to or spent on behalf of a specific candidate for
          public office thereby enabling the original source of the
          contribution to support a specific candidate while avoiding being
          directly linked to the candidate by disclosure;

       4. Manipulating the amounts and timing of campaign contributions
          to a political committee to avoid triggering the disclosure required
          by the sponsoring entity provision of the Illinois campaign finance
          law;

       5. Soliciting others to participate in the funding of in-kind
          contributions of electronic communications and direct mail and
          phone contact operations supporting the election of a candidate
          for public office which would not be reported thereby avoiding
          disclosure; and

       6. Not reporting in-kind contributions of electronic communications
          and direct mail and phone contact operations supporting the
          election of a candidate for public office which would not be
          reported thereby avoiding disclosure.

 (Doc. 716-3, pg. 2-3). As highlighted by plaintiffs, this case involves allegations

 that State Farm violated the Racketeer Influenced and Corrupt Organizations Act

 (“RICO”). Illinois campaign finance law violations are neither an element of a RICO

 claim, nor are they predicate acts. Given that Redfield does not purport to answer

 the ultimate issue in this case as to whether there has been a RICO violation, the

 Court agrees with plaintiff’s reasoning.

       As a secondary argument, defendants contend that Redfield’s opinions and

 testimony discussing the aforementioned Illinois campaign finance laws should be

 excluded under FRE 403 for their prejudicial significance. Specifically, defendants

 argue that Redfield’s opinions and testimony will mislead the jury and will

 confuse the issues by “injecting collateral issues that have no bearing on plaintiff’s


                                    Page 39 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 40 of 48 Page ID
                                 #39266


 RICO claim.” (Doc. 716, pg. 6). Defendants allege that the proposed testimony

 would unnecessarily delay the trial and “risk that the jury erroneously infer from

 Redfield’s testimony that, because State Farm (and others) purportedly violated

 campaign finance laws, State Farm must have violated RICO.” (Id. at 7).

       Plaintiffs, in turn, argue that Redfield’s opinions that State Farm’s conduct

 violated Illinois campaign finance law “is relevant context to their efforts to

 conceal its contributions to the Karmeier campaign.” (Doc. 747, pg. 12). Plaintiffs

 further argue that any risk of juror confusion or erroneous inferences should be

 dealt with through appropriate jury instructions on the elements and predicate

 acts of the RICO claim.

       Here, the Court rejects defendants’ arguments and finds that Redfield’s

 opinions are highly relevant and not unduly prejudicial for the reasons cited by

 plaintiffs. As noted above, Redfield does not opine on the ultimate issue in this

 case, and he testifies to “something more than what is ‘obvious to the layperson.”

 Dhillon v. Crown Controls Corp., 269 F.3d 865, 871 (7th Cir. 2001). His

 testimony is clearly relevant to provide context to State Farm’s alleged efforts to

 conceal its contributions supporting the Karmeier campaign. Therefore, his

 testimony would aid the trier of fact in this case, and any alleged prejudice or

 disagreement resulting from juror confusion or erroneous inferences from

 Redfield’s testimony shall be eliminated through jury instructions explicitly

 describing the elements and predicate acts of the RICO claim.




                                   Page 40 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 41 of 48 Page ID
                                 #39267


       Furthermore, defendants’ disagreement with Redfield’s defined legal

 standards is a proper subject for cross-examination. “If the proposed expert

 testimony meets the Daubert threshold of relevance and reliability, the accuracy of

 the actual evidence is to be tested before the jury with the familiar tools of

 “vigorous cross-examination, presentation of contrary evidence, and careful

 instruction on the burden of proof.”” Lapsley v. Xtek, Inc., 689 F.3d 802, 805 (7th

 Cir. 2012) (citing Daubert, 509 U.S. at 596).        Defendants may attack the

 Redfield’s definitions of relevant legal standards on cross-examination or through

 the testimony of their own expert to contradict his proposed conclusions or

 definitions.

       Therefore, the Court finds that Redfield’s opinions and testimony are

 admissible, and any risks alleged by defendants do not substantially outweigh the

 probative value of his opinions. Accordingly, the Court DENIES the motion to

 exclude the testimony and report of Kent D. Redfield (Doc. 716).

       Bruce Green (Doc. 717)

       Bruce Green is a full-time Professor at Fordham Law School. At Fordham

 Law School, he is the Louis Stein Chair and directs the Louis Stein Center for

 Law and Ethics.    Previously, Green served as a law clerk to Judge James L.

 Oakes of the United States Court of Appeals for the Second Circuit, a law clerk to

 Justice Thurgood Marshall of the United States Supreme Court, and as an

 Assistant United States Attorney for the Southern District of New York. He is

 admitted to practice law in the State of New York.



                                   Page 41 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 42 of 48 Page ID
                                 #39268


       Recently, Professor Green was named the 2018 recipient of the American

 Bar Association’s Michael Franck Professional Responsibility Award. 8 He has co-

 authored books on professional conduct for lawyers and has co-authored dozens

 of scholarly articles addressing lawyer professional conduct. In addition, he was

 a reporter to the ABA Standing Committee on Ethics and Professional

 Responsibility, co-chair of the ABA Ethics, Gideon and Professionalism

 Committee, chair of the New York City Bar’s Committee on Professional Ethics,

 and chair of the New York State Bar Association’s Committee on Professional

 Ethics. Unmistakably, Professor Green is well-credentialed and well-qualified to

 testify as an expert and defendants do not seem to contest his qualifications.

       Plaintiffs asked Professor Green “to address how judicial opinions and

 rules of professional conduct apply to aspects of the conduct of State Farm’s in-

 house and outside counsel in connection with the Avery lawsuit.” In addition,

 Professor Green issued a rebuttal report disagreeing with defendants’ experts

 Thomas D. Morgan, Sheila O’Brien and Richard Painter, each of whom have

 opined that State Farm’s 2005 and 2011 briefs conformed to the standards of

 appropriate advocacy. Specifically, Green stated in his rebuttal: “I disagree with



  8
    This award honors individuals whose: “career commitments in areas such as legal ethics,
  disciplinary enforcement and lawyer professionalism demonstrate the best accomplishments of
  lawyers. Although a nominee’s significant contributions to the work of the organized bar merit
  strong consideration by the selection committee, noteworthy scholarly contributions made in
  academic settings, creative judicial or legislative initiatives undertaken to advance the
  professionalism of lawyers, and other related accomplishments will also be given
  consideration.”
  https://www.americanbar.org/groups/professional_responsibility/initiatives_awards/awards/abo
  utthemichaelfranckaward1.html



                                        Page 42 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 43 of 48 Page ID
                                 #39269


 this conclusion and with the defense experts’ underlying reasoning. This report,

 which supplements my earlier one, identifies the principal areas in which I

 disagree with the defense experts.” (Doc. 717-4, p. 2)(footnote omitted). Further

 in preparing his report, plaintiffs asked Professor Green to assume:

       (1) in 2003-2004, State Farm provided substantial financial and other
           support designed to elect Justice Llyod Karmeier to the Illinois Supreme
           Court;

       (2) State Farm’s support included its expenditure of as much as several
           million dollars towards Justice Karmeier’s election;

       (3) some of State Farm’s contributions were funneled to the Karmeier
           campaign committee through trade organizations and some were spent
           by trade organizations themselves for the purpose of elections Justice
           Karmeier; and

       (4) because of the secretive nature of State Farm’s expenditures, the extent
           of its support for Justice Karmeier’s campaign was not reflected in
           public filings and was otherwise unknown to the Avery plaintiffs and to
           the Illinois Supreme Court in 2005 and 2011.

 In his report, Professor Green opined the following:

      (1) If State Farm's outside counsel in Avery in fact knew the general
          extent of State Farm's secret support for Justice Karmeier's
          campaign as described in the Myers Report, then those lawyers
          violated their professional duties and duty of candor to the
          Illinois Supreme Court.

      (2) If State Farm's outside counsel knew of State Farm's
          substantial undisclosed financial support for Justice Karmeier's
          campaign, then a duty of candor obligated the lawyers to bring
          relevant facts to the Illinois Supreme Court's attention when it
          appeared that Justice Karmeier could participate in State Farm's
          appeal, even if the Avery plaintiffs had not moved to recuse Justice
          Karmeier.

      (3) If State Farm's outside counsel knew the basic facts described
          in the Myers Report, or if they avoided making a reasonable
          factual inquiry before filing their 2005 opposition to the recusal

                                   Page 43 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 44 of 48 Page ID
                                 #39270


         motion and their 2011 opposition to the Avery plaintiffs' petition
         to recall the mandate, then those pleadings violated the lawyers'
         duty of candor to the Illinois Supreme Court.

      (4) If State Farm's in-house lawyers knew (or kept themselves in the
          dark) about State Farm's extensive funding or other support to
          Justice Karmeier's campaign, and if those lawyers oversaw outside
          counsel or had other responsibilities with respect to State Farm's
          misleading filings in 2005 and 2011, then those lawyers violated
          their duty of candor to the Illinois Supreme Court.

 (Doc. 717, ps. 15-24).     Further, in preparing his reports, Professor Green

 identifies the many documents he was asked to review, including Thomas Myers’

 expert report and its cited materials and Professor Green identifies the

 professional standards for lawyers, civil practice rules, and rules of candor and

 fair dealing owed to the Court.

       Defendants maintain that Green’s opinions are flawed and irrelevant as his

 opinions are improper legal conclusions; speculative and irrelevant and his

 methodology is not reliable. Further, defendants maintain that Green’s opinions

 are highly prejudicial and will mislead the jury. Plaintiffs, of course, argue that

 Professor Green’s testimony and opinions are admissible; that defendants’

 objections to his testimony and opinions are unfounded in that his opinions and

 testimony are not based on speculation and his opinions and testimony are

 relevant.    Further, plaintiffs contend that Professor Green’s opinions and

 testimony will not unfairly prejudice defendants. The Court agrees with plaintiffs’

 reasoning.

       As to defendants’ contention that Professor Green’s reports and testimony

 consist of almost entirely impermissible legal conclusions regarding the law of



                                   Page 44 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 45 of 48 Page ID
                                 #39271


 attorney ethics and the application of ethical rules and the standards, the Court

 rejects this argument. Defendants cite Lanteri v. Credit Prot. Ass’n, L.P.¸ 2016

 WL 4394139 at * 3 (S.D. IN. 2016)(Lawrence, J.) for the proposition that courts

 generally will not admit expert testimony regarding whether a party’s counsel have

 violated the ethical rules. Here, the Court can only speculate why Lanteri was

 cited as it is an unpublished order of the trial court in the Southern District of

 Indiana which is without precedential value and which the trial judge cites no

 authority for the proposition of law he suggests.      Defendants also argue that

 Professor Green’s opinions that State Farm’s briefs are misleading and deceptive.

 In support defendants cite to F.T.C. v. Amy Travel Serv., Inc., 875 F.2d 564, 583

 (7th Cir. 1989). A review of Amy Travel reveals that it is not applicable to the

 facts of this case. In Amy Travel, the expert, offered by defendants, but refused by

 the judge, was knowledgeable about travel marketing. Defendants’ counsel ask

 the witness whether defendants’ sales practices were ‘deceptive or misleading.’

 The magistrate judge, trying the case, would not allow an answer to the question,

 because it called for the witness to render a legal opinion, not one about

 consumer perception of the sales pitch used.        It was the magistrate judge’s

 determination that the expert tendered did not have the correct expertise for such

 an opinion, finding that the expertise necessary would be a person who is an

 expert in consumer psychology or consumer behavior. While it is not clear, it

 appears to the undersigned that reason for not allowing the legal issues was the

 same as the consumer behavior; the witness was not qualified because he was not



                                   Page 45 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 46 of 48 Page ID
                                 #39272


 a lawyer, nor a consumer psychologist or a consumer behaviorist.            The only

 citations to authority are Federal Rule of Evidence 104(a) and Federal Rule of

 Evidence 702, suggesting that the decision to exclude was based on qualifications

 and not invading the province of the jury.

       Further, defendants maintain that Greens’ opinions and methodology are

 not reliable, principally because Professor Green applied the facts given to him by

 plaintiffs’ counsel without independently verifying those facts. The Court again

 rejects this argument as it previously did in its July 19, 2018 Memorandum and

 Order granting defendants’ motion to exclude the expert reports and testimony of

 Adelstein and McKenna (Doc. 882, p. 7). Obviously, the defendants will have the

 opportunity to cross examine Professor Green on this point and the jury can

 decide if this issue adversely affects the credibility of the witnesses or causes them

 to place less of importance on the evidence.

       Here, the Court disagrees with defendants and finds that Professor Green’s

 opinions and testimony are both relevant and reliable under Rule 702. Professor

 Green’s reports will help the jury assess matters of professional responsibility;

 specifically, how a lawyer’s duties to a court limit what a lawyer may do to

 advance a client’s interests. Professor Green’s extensive experience and research

 in the field of the rules of professional and ethical conduct for lawyers provides

 sufficient basis for him to offer his opinions and conclusions. After reviewing the

 reports, it is clear that Professor Green is not making up his conclusions.

 Professor Green takes the facts supplied to him; then identifies the professional



                                    Page 46 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 47 of 48 Page ID
                                 #39273


 conduct rules that apply, as well as the relevant case law, and then applies the

 facts to those rules and cases to arrive at the opinions he reaches. As stated

 before, defendants are free to cross examine Professor Green to test the credibility

 of his testimony and to argue that the jury should not give it any weight. The

 Court finds that his methodology is reliable and his testimony aids the jury in

 deciding this theory and issue proffered by the plaintiffs.       Thus, the Court

 DENIES the motion to exclude the testimony and reports of Bruce Green (Doc.

 717).




                                    Conclusion

         Accordingly, the Court DENIES defendants’ motion to exclude the reports

 and testimony of Joanna Shepherd (Doc. 711); DENIES as moot defendants’

 motion to exclude expert report and trial testimony of Delores K. Rinke (Doc.

 712); GRANTS plaintiffs’ motion to exclude expert report of Justice Sheila M.

 O’Brien (Doc. 713); GRANTS plaintiffs’ motion to exclude report and testimony of

 Michael T. Reagan (Doc. 714); DENIES defendants’ motion to exclude report and

 testimony of Richard K. Means (Doc. 715); DENIES defendants’ motion to exclude

 testimony and opinions of Kent D. Redfield (Doc. 716); DENIES defendants’

 motion to exclude testimony and reports of Bruce Greeen (Doc. 717) and

 GRANTS plaintiffs’ motion to exclude the report and testimony of Bruce

 Dubinsky (Doc. 718).


                                   Page 47 of 48
Case 3:12-cv-00660-DRH-SCW Document 904 Filed 08/21/18 Page 48 of 48 Page ID
                                 #39274


      IT IS SO ORDERED.

                                                   Judge Herndon
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                                               United States District Judge




                               Page 48 of 48
